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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HERMINE BYFIELD                                           :       CIVIL ACTION
                                                          :
                                                          :
      v.                                                  :
                                                          :
HEALTHCARE REVENUE RECOVERY                               :
GROUP, LLC                                                :       NO. 18-243
                                                          :

                                                 NOTICE

    This matter having been referred to Judge Hey for the purposes of conducting settlement proceedings,
the following procedures shall apply (see Judge Hey’s policies and procedures):
http://www.paed.uscourts.gov/judges-info/magistrate-judges/elizabeth-t-hey

1. All communications with chambers regarding settlement should be directed to:
   Chambers of Magistrate Judge Elizabeth Hey@paed.uscourts.gov

2. Judge Hey requires that parties and representatives with authority participate in settlement
   conferences. Judge Hey is conducting most settlement conferences remotely by video. The parties can
   request that the conference be held in person.

3. If the referring Judge has specified a time frame for the settlement conference, Judge Hey’s
   chambers will contact counsel to schedule the conference within that time frame.

4. If the parties seek a settlement conference, they shall contact chambers and request a settlement
   conference within their agreed-upon time frame and offer mutually agreeable dates, and must do so at
   least 45 days prior to the requested date absent unusual circumstances. If the parties have agreed that
   certain discovery should take place prior to the conference, they must complete that discovery before
   the conference. The parties should not request or agree to a date without being confident that they can
   complete the required discovery sufficiently far in advance of the conference to be prepared.

5. If there is no joint request for a settlement conference, a party seeking a settlement conference may
   submit an ex parte letter to chambers requesting a telephone conference with Judge Hey to discuss
   settlement. Judge Hey may also sua sponte contact the parties for a telephone conference to discuss
   settlement.

6. If the parties have not been in contact with Judge Hey respecting settlement prior to the end of all
   discovery, they shall provide a status report respecting settlement to Judge Hey by that date.


            /s/ Lara L. Karlson                                           Date: June 2, 2023
            Lara L. Karlson, Courtroom Deputy to
            ELIZABETH T. HEY
            UNITED STATES MAGISTRATE JUDGE
